Case 1:15-cv-07433-LAP Document 1320-30 Filed 01/03/24 Page 1 of 27




                     EXHIBIT D
Case 1:15-cv-07433-LAP Document 1320-30 Filed 01/03/24 Page 2 of 27




                               GIUFFRE

                                    vs.
                              MAXWELL
                                  Deposition


                          VIRGINIA GIUFFRE

                                 05/03/2016




           Agren Blando Court Reporting & Video, Inc.
                          216 16th Street, Suite 600
                          Denver Colorado, 80202
                               303-296-0017
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     Case 1:15-cv-07433-LAP   Court Reporting
                            Document          & Video,
                                     1320-30 Filed      Inc. Page 3 of 27
                                                   01/03/24

               IN THE UNITED STATES DISTRICT COURT

                   SOUTHERN DISTRICT OF NEW YORK

Civil Action No. 15-cv-07433-RWS


CONFIDENTIAL VIDEOTAPED DEPOSITION OF
VIRGINIA GIUFFRE                      May 3, 2016


VIRGINIA L. GIUFFRE,

Plaintiff,

v.

GHISLAINE MAXWELL,

Defendant.


APPEARANCES:

        FAMER, JAFFE, WEISSING, EDWARDS, FISTOS &
        LEHRMAN, P.L.
            By Brad Edwards, Esq.
               425 N. Andrews Avenue
               Suite 2
               Fort Lauderdale, FL 33301
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               Appearing on behalf of the
               Plaintiff


        BOIES, SCHILLER & FLEXNER LLP
            By Sigrid S. Mccawley, Esq. (For Portion)
               401 East Las Olas Boulevard
               Suite 1200
               Fort Lauderdale, FL 33301-2211
               Phone: 954.356.0011
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               Appearing on behalf of the
               Plaintiff




                            VIRGINIA GIUFFRE 5/3/2016                       1
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     Case 1:15-cv-07433-LAP   Court Reporting
                            Document          & Video,
                                     1320-30 Filed      Inc. Page 4 of 27
                                                   01/03/24

 1    APPEARANCES:        (Continued)

 2          HADDON, MORGAN AND FORMAN, P.C.
                By Laura A. Menninger, Esq.
 3                 Jeffrey S. Pagliuca, Esq.
                   150 East 10th Avenue
 4                 Denver, CO 80203
                   Phone: 303.831.7364
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                   jpagliuca@hmflaw.com
 6                 Appearing on behalf of the
                   Defendant
 7
      Also Present:
 8               Brenda Rodriguez, Paralegal
                 Nicholas F. Borgia, CLVS Videographer
 9

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                            VIRGINIA GIUFFRE 5/3/2016                       2
                 Agren Blando
     Case 1:15-cv-07433-LAP   Court Reporting
                            Document          & Video,
                                     1320-30 Filed      Inc. Page 5 of 27
                                                   01/03/24

 1                    Pursuant to Notice and the Federal Rules

 2    of Civil Procedure, the VIDEOTAPED DEPOSITION OF

 3    VIRGINIA GIUFFRE, called by Defendant, was taken on

 4    Tuesday, May 3, 2016, commencing at 9:00 a.m., at 150

 5    East 10th Avenue, Denver, Colorado, before Kelly A.

 6    Mackereth, Certified Shorthand Reporter, Registered

 7    Professional Reporter, Certified Realtime Reporter

 8    and Notary Public within Colorado.
 9
                                   * * * * * * *
10                                   I N D E X
11
      EXAMINATION                                                    PAGE
12
       MS. MENNINGER                                                        8
13

14    PRODUCTION REQUEST(S):

15      (None. )
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                            VIRGINIA GIUFFRE 5/3/2016                           3
                 Agren Blando
     Case 1:15-cv-07433-LAP   Court Reporting
                            Document          & Video,
                                     1320-30 Filed      Inc. Page 6 of 27
                                                   01/03/24

 1    wanted to know about the Prince Andrew incident.
 2           Q        So that's a different piece of paper?

 3           A       Yeah, that's just random paper.
 4           Q        So you had a green spiral notebook that

 5    you began sometime in 2011 or 2012 in which you wrote

 6    down your recollections about what had happened to

 7    you, and you burned that in a bonfire in 2013.

 8                    Did I get that right?

 9           A       You got that right.
10           Q       And do you have no other names of people

11    to whom you claim Ghislaine Maxwell directed you to

12    have sex, correct?

13           A       At this time, no.

14           Q        Is there any document that would refresh

15    your recollection that you could look at?
16           A        If you have a document you'd like to show

17    me, I would be glad to look at it and tell you the

18    names I recognize off of that.

19           Q        I'm just asking you if there's a document

20    you know of that has this list of names in it?

21           A       Not in front of me, no.
22           Q       Where is the original of the photograph

23    that has been widely circulated in the press of you

24    with Prince Andrew?

25           A        I probably still have it.            It's not in my

                            VIRGINIA GIUFFRE 5/3/2016                       208
                 Agren Blando
     Case 1:15-cv-07433-LAP   Court Reporting
                            Document          & Video,
                                     1320-30 Filed      Inc. Page 7 of 27
                                                   01/03/24

 1    possession right now.
 2           Q       Where is it?

 3           A        Probably in some storage boxes.
 4           Q       Where?

 5           A        In Sydney.

 6           Q       Where in Sydney?

 7           A       At some family's house.            We got the boxes

 8    shipped to Australia, and they were picked up off the

 9    porch by my nephews and brought to their house.
10           Q       Which is where?
11           A        In Sydney.
12           Q       Where in Sydney?

13           A       Bass Hill.
14           Q       And who lives in that house?
15           A       Well, it's owned by my mother-in-law and

16    father-in-law, but my nephews live in the house.

17           Q       What are their names?
18           A        I'm not giving you the names of my

19    nephews.

20           Q       What's the address of the house?

21           A       Why would you want that?
22           Q        I want to know where the photograph is.

23    I'm asking you where the photograph is.                  And you've

24    just told me it's somewhere in Bass Hill?

25           A       Yes.

                            VIRGINIA GIUFFRE 5/3/2016                       209
                 Agren Blando
     Case 1:15-cv-07433-LAP   Court Reporting
                            Document          & Video,
                                     1320-30 Filed      Inc. Page 8 of 27
                                                   01/03/24

 1           Q        So where in Bass Hill is the photograph

 2    located?

 3           A        If I can't 100 percent say that the

 4    photograph is there, it could be at my house that I

 5    presently live in.           I'm not going to give you the

 6    address of my nephews' residence.

 7           Q       When is the last time you saw the

 8    photograph in person?

 9           A       When I packed and left America.
10           Q       Colorado?
11           A       Yes.
12           Q       All right.         So you had that photograph

13    here with you in Colorado?

14           A       Yes.
15           Q       What's on the back of the photograph?
16           A        I'm sorry?

17           Q        Is there anything on the back of the

18    photograph?

19           A        There's like the date it was printed, but

20    no writing or anything.

21           Q       Okay.      Does it say where it was printed?
22           A        I don't believe so.               I think it just     I

23    don't remember.         I just remember there's a date on

24    it.

25           Q       Whose camera was it taken with?

                            VIRGINIA GIUFFRE 5/3/2016                           210
                 Agren Blando
     Case 1:15-cv-07433-LAP   Court Reporting
                            Document          & Video,
                                     1320-30 Filed      Inc. Page 9 of 27
                                                   01/03/24

 1           A       My little yellow Kodak camera.
 2           Q       Who took the picture?
 3           A        Jeffrey Epstein.
 4           Q       And where did you have it developed?

 5           A        I believe when I got back to America.
 6           Q        So where?
 7           A        I don't know.
 8           Q        Palm Beach?

 9           A        I don't know.
10           Q       What is the date the photograph was

11    printed?
12           A        I believe it's in March 2001.
13           Q       Okay.
14           A       But that's just off of my photographic

15    memory.      I don't -- it could be different, but I

16    think it's March 2001.

17           Q       You have a photographic memory?

18           A        I'm not saying I have a photographic

19    memory.      But if I'd look at the back of the photo and

20    I remember what it says, I believe it was March 2001.
21           Q        Did the photograph ever leave your

22    possession for a while?
23           A        I gave it to the FBI.
24           Q       Okay.     And when did you get it back?
25           A       When they took copies of it.

                            VIRGINIA GIUFFRE 5/3/2016                       211
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 10 of 27
                                                   01/03/24

 1            Q       When was that?
 2            A       2011.

 3            Q       When they came to interview you?
 4            A       Yes.

 5            Q       So from 2011 until you left Colorado it
 6     was in your personal possession?

 7            A       Yes.

 8            Q       What other documents related to this case

 9     are in that, storage boxes in Australia?
10                    MR. EDWARDS:          Object to the form.
11            A       Documents related to this case -- there
12     I don't know.         I really can't tell you.            I mean,

13     there's seven boxes full of Nerf guns, my kids' toys,
14     photos.      I don't know what other documents would be

15     in there.

16            Q        (BY MS. MENNINGER)            Did anyone search

17     those documents after you received discovery requests

18     from us in this case?

19            A       I haven't been able to obtain those boxes.

20     I can't get them sent back up to me.                  It's going to

21     cost me a large amount of money.                  And right now I'm

22     trying to look after my family, so I'm not able to

23     afford to get them up.

24            Q       You live in Australia, correct?

25            A       I do.

                             VIRGINIA GIUFFRE 5/3/2016                        212
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 11 of 27
                                                   01/03/24

 1            Q       Okay.      How far away are the boxes from

 2     where you live in Australia?

 3            A       Sydney is down here at the bottom.                 Cairns

 4     is up here at the top.

 5            Q       Okay.

 6            A       It's probably a six-day drive.

 7            Q       Did you fly here through Sydney?

 8            A       No.

 9            Q       Have you been to Sydney since you've moved

10     back to Australia?

11            A       I flew into Sydney with my three kids, but

12     it was a connecting flight to Brisbane.

13            Q       Did you ask your nephews or anyone else to

14     search those boxes in response to discovery requests

15     that we issued in this case?
16            A       They are my nephews.               I would never let

17     them look at those.

18            Q       Other than your green spiral notebook,

19     what else did you burn in this bonfire in 2013?

20            A       That was it.

21            Q       That's the only thing?
22            A       Yes.
23            Q       Did you use wood?
24            A       Yes.

25            Q       Charcoal?

                             VIRGINIA GIUFFRE 5/3/2016                            213
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 12 of 27
                                                   01/03/24

 1            A       My husband built the bonfire out of wood

 2     and I don't know what else he put in it.                     He's the

 3     one who always makes the fires, not me.
 4            Q       Who else was present?

 5            A       Just him and I.
 6            Q       Were your kids there?

 7            A       No.    They were inside sleeping.
 8            Q       And what beach was this?

 9            A       It wasn't a beach.                 It was in my backyard.
10            Q       What's your address?
11            A       At that time?
12            Q       Um-hum.
13            A       Jane Doe 2
14            Q       Jane Doe 2
15            A       Yes.
16            Q       Who were your neighbors?
17            A       Sweet people.          Ray and -- I could look on

18     my phone if you want.

19            Q       No, thank you.           Do they still live there?
20            A       Yes.
21            Q       Do you keep in touch with them?
22            A       Last time I talked to them was a few

23     months ago.
24            Q       Did they see the fire?

25            A       They've seen many fires that we've had.

                             VIRGINIA GIUFFRE 5/3/2016                            214
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 13 of 27
                                                   01/03/24

 1     We've had lots of bonfires there.

 2            Q       Did you ever ride in a helicopter with

 3     Ghislaine Maxwell acting as pilot of the helicopter?
 4            A       Yes.
 5            Q       Who else was on the flight?

 6            A       I've been on the helicopter with her

 7     plenty of times.          I can't mention how many people

 8     were on the -- on the helicopter at the same time.
 9            Q       How many times?
10            A       I don't know.          Do you have helicopter

11     records that you could show me?
12            Q       I'm asking you how many times you were on

13     the helicopter with Ghislaine Maxwell acting as the
14     pilot --
15            A       It's impossible for me to answer the

16     question without having the actual physical records

17     in front of me.
18            Q       I'm asking you to look into your memory

19     and tell me how many times you recall being on a

20     helicopter with Ghislaine Maxwell at the pilot seat?
21            A       There is no number I can give you.

22     There's plenty of times I've been on her helicopter.
23            Q       Where did you go from and to on a

24     helicopter?
25            A       I believe it was -- don't quote me on this

                             VIRGINIA GIUFFRE 5/3/2016                        215
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 14 of 27
                                                   01/03/24

 1     because I get confused on the islands there.                     I want

 2     to say it was St. John's.               It could have been

 3     St. Barts.       St. John or St. Barts, and then we would

 4     fly straight to Jeffrey's island.
 5            Q       Okay.      Did you ever go anywhere else on

 6     the helicopter?
 7            A       No.
 8            Q       Were you ever on the helicopter with Bill

 9     Clinton and Ghislaine Maxwell as the pilot of the

10     helicopter?
11            A       No.
12            Q       Were you ever on the helicopter with Bill

13     Clinton's Secret Service and Ghislaine Maxwell as the
14     pilot?
15            A       No.
16            Q       Do you recall telling Sharon Churcher that
17     you were?
18            A       No.
19            Q       Did you see the press article in which

20     Sharon Churcher reported that you were?
21                    MR. EDWARDS:          Objection.     I'd just ask

22     that if you're going to ask this witness about a

23     specific article I'd like for her to see the article.

24     Otherwise she's not going to testify about it.

25                    If you have something to show her, then,

                             VIRGINIA GIUFFRE 5/3/2016                           216
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 15 of 27
                                                   01/03/24

 1     please.
 2            Q        (BY MS. MENNINGER)            Do you recall seeing a

 3     press article in which Sharon Churcher reported that

 4     you were on a helicopter with Bill Clinton and

 5     Ghislaine Maxwell as the pilot?
 6                    MR. EDWARDS:          Again, I'll let you answer

 7     the question once she's looking at the document that

 8     you're being asked about.
 9                    MS. MENNINGER:           You're not letting her

10     answer a question about whether she recalls a

11     particular press statement?
12                    MR. EDWARDS:          I will let her answer every

13     question about the press statement as long as she

14     sees the press statement.               I'm okay with that.        She

15     can answer all of them.
16                    MS. MENNINGER:           No, there is a rule of

17     civil procedure that allows you to direct a witness

18     not to answer a question when there's a claim of

19     privilege.

20                    What privilege are you claiming to direct

21     her not to answer this question?

22                    MR. EDWARDS:          I thought that you wanted

23     accurate answers from this witness.                 If the
24                    MS. MENNINGER:           I asked her if she

25     recalled something --

                             VIRGINIA GIUFFRE 5/3/2016                          217
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 16 of 27
                                                   01/03/24

 1                    MR. EDWARDS:          If the sole purpose is to

 2     just to harass her --
 3                    MS. MENNINGER:           I asked her if she

 4     recalled something --

 5                    MR. EDWARDS:          Then that's just not going

 6     to be what's happening today.
 7            Q        (BY MS. MENNINGER)            All right.    So you're

 8     refusing to answer a question about whether you

 9     recall a particular press statement
10                    MR. EDWARDS:          She's --
11            Q        (BY MS. MENNINGER) -- is that true?
12                    MR. EDWARDS:          She is not refusing to

13     answer any questions.             She --
14            A       I'm not refusing to answer.              I just want

15     to see the article you're talking about so I can be

16     clear in my statement.
17            Q        (BY MS. MENNINGER)            Do you recall seeing a

18     press article written by Sharon Churcher reporting

19     that you flew on a helicopter with Bill Clinton and

20     Ghislaine Maxwell as the pilot?

21            A       No, I do not recall reading a press

22     article saying that I was on a helicopter with Bill

23     Clinton as Ghislaine is the pilot.
24            Q       Do you recall telling Sharon Churcher that

25     you had conversations with Bill Clinton regarding him

                             VIRGINIA GIUFFRE 5/3/2016                         218
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 17 of 27
                                                   01/03/24

 1     flying on a helicopter with Ghislaine Maxwell?

 2            A       I believe that it was taken out of

 3     context.      Ghislaine told me that she flew Bill

 4     Clinton in.       And Ghislaine likes to talk a lot of

 5     stuff that sounds fantastical.                    And whether it's true

 6     or not, that is what I do recall telling Sharon

 7     Churcher.
 8            Q       So you told Sharon Churcher that Ghislaine

 9     Maxwell is the one who told you that she flew Bill

10     Clinton in the helicopter?
11            A       I told Sharon Churcher that Ghislaine flew

12     Bill Clinton onto the island, based upon what

13     Ghislaine had told me.
14            Q       Not based upon what Bill Clinton had told

15     you, correct?
16            A       Correct.
17            Q       Did you ever ask Sharon Churcher to

18     correct anything that was printed under her name,

19     concerning your stories to Sharon Churcher?
20            A       I wasn't given those stories to read

21     before they were printed.
22            Q       After they were printed did you read them?
23            A       I tried to stay away from them.                They were

24     very hard.       You have to understand it was a very hard

25     time for me and my husband to have to have this

                             VIRGINIA GIUFFRE 5/3/2016                           219
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 18 of 27
                                                   01/03/24

 1     public -- we didn't think it was going to be this
 2     publicly announced and that big.                    So we turned off

 3     the news and we stopped reading so many things.
 4            Q       You didn't read the articles about your

 5     stories to Sharon Churcher
 6            A       I've read some articles

 7            Q       Let me just finish.                You did not read the

 8     articles published by Sharon Churcher about your

 9     stories to Sharon Churcher?
10            A       I have read some articles about what

11     Sharon Churcher wrote.             And a lot of the stuff that

12     she writes she takes things from my own mouth and

13     changes them into her own words as journalists do.

14                    And I never came back to her and told her
15     to correct anything.            What was done was done.           There

16     was nothing else I can do.
17            Q       So even if she printed something that were

18     untrue you didn't ask her to correct it, correct?
19            A       There was things that she printed that

20     really pissed me off, but there was nothing I could
21     do about it.        It's already out there.
22            Q       She printed things that were untrue,

23     correct?
24                    MR. EDWARDS:          Objection to the form.

25     Mischaracterization.

                             VIRGINIA GIUFFRE 5/3/2016                           220
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 19 of 27
                                                   01/03/24

 1            A       I wouldn't say that they were untrue.                   I

 2     would just say that she printed them as journalists

 3     take your words and turn them into something else.

 4            Q        (BY MS. MENNINGER)                She got it wrong?

 5                    MR. EDWARDS:          Object to the form.

 6     Mischaracterization.
 7            A       In some ways, yes.
 8            Q        (BY MS. MENNINGER)            Did she print things

 9     in her articles that you did not say to her?
10                    MR. EDWARDS:          I object and ask that the

11     witness be given the opportunity to see the document

12     so that she can review it and answer that question

13     accurately.       Otherwise she's unable to answer the

14     question.      I'm not going to allow her to answer.
15                    MS. MENNINGER:           You know the civil rules

16     tell you not to suggest answers to your client.
17            Q        (BY MS. MENNINGER)            And you understand

18     your lawyer is now directing you to not all of a

19     sudden remember what your answer is.                     That's what

20     he's suggesting that you say.                     So you're not supposed

21     to listen to him suggest that to you.                     You're

22     supposed to tell me from your memory.
23                    MR. EDWARDS:          That is not what I'm --
24            Q        (BY MS. MENNINGER)            Did you --
25                    MR. EDWARDS:          That's not what I'm doing.

                             VIRGINIA GIUFFRE 5/3/2016                            221
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 20 of 27
                                                   01/03/24

 1                    You don't get to just talk over me and

 2     tell my client when not to listen to me.                   All you

 3     have to do to get answers is show her the document

 4     you're talking about, and I'll let her answer every

 5     question.      I don't know why we're so scared of the

 6     actual documents.
 7                    MS. MENNINGER:           I don't know why you're

 8     scared of your client's recollection, Mr. Edwards.

 9     But anyway
10                    MR. EDWARDS:          Why would you do this to

11     her?
12            Q        (BY MS. MENNINGER)            Did Sharon Churcher

13     print things that you did not say?
14                    MR. EDWARDS:          I'm going to instruct my

15     client not to answer unless you give her what it is

16     that you're talking about that was printed.                    And she

17     will tell you the answer, the accurate answer to your

18     question.      Just without the document to refresh her

19     recollection and see it, she's not going to answer

20     the question.
21            Q        (BY MS. MENNINGER)            Did Sharon Churcher

22     print things that you did not say?
23                    MR. EDWARDS:          Same objection.       Same

24     instruction not to answer.

25                    I think I've made a very clear record as

                             VIRGINIA GIUFFRE 5/3/2016                          222
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 21 of 27
                                                   01/03/24

 1     to why I want my client to answer all of these

 2     questions, but I want her to have the fair

 3     opportunity to see this document.

 4            Q        (BY MS. MENNINGER)            Did Sharon Churcher

 5     print things that you felt were inaccurate?
 6                    MR. EDWARDS:          Same objection.       Same

 7     instruction.        If she sees the document, she's going

 8     to answer every one of these questions.
 9            Q        (BY MS. MENNINGER)            Did any other reporter

10     print statements that you believe are inaccurate?
11                    MR. EDWARDS:          Same objection.       Same

12     instruction.
13            Q        (BY MS. MENNINGER)            Did any reporter print

14     statements about Ghislaine Maxwell that were

15     inaccurate?
16                    MR. EDWARDS:          Same objection.       Same

17     instruction.
18                    This is harassing.             This is harassing a

19     sexual abuse victim.            And all I'm asking is for

20     fairness, that we just let her see the document so

21     she can answer this.

22                    MS. MENNINGER:           Mr. Edwards, please stop

23     saying anything other than an objection, what the

24     basis is, or instructing your client not to answer.
25                    MR. EDWARDS:          I will do that.

                             VIRGINIA GIUFFRE 5/3/2016                        223
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 22 of 27
                                                   01/03/24

 1                    MS. MENNINGER:           That's what the Federal

 2     Rules of Civil Procedure provide.

 3                    MR. EDWARDS:          I hear you.     They also

 4     provide for fairness and civility.                 And all I'm

 5     asking, very calmly, is for her to see this.
 6                    MS. MENNINGER:           Mr. Edwards, this is not

 7     your deposition.          I'm asking your client what she

 8     remembers.       If she doesn't want to talk about what

 9     she remembers, then let her not answer.                    But you

10     cannot instruct her not to answer unless there's a

11     privilege.

12                    What privilege --
13                    MR. EDWARDS:          I am instructing her not to

14     answer.
15            Q        (BY MS. MENNINGER)            All right.     You are

16     refusing to answer questions about whether statements

17     to the press about Ghislaine Maxwell attributed to

18     you were inaccurate?
19                    MR. EDWARDS:          She's not refusing not to

20     answer.
21            A       You are refusing to show me these
22     documents so I could answer properly.                  I would give

23     you an answer if you were to show me some documents.
24            Q        (BY MS. MENNINGER)            You can't say without

25     looking at a document whether the press attributed to

                             VIRGINIA GIUFFRE 5/3/2016                        224
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 23 of 27
                                                   01/03/24

 1     you is accurate or inaccurate?
 2            A       Please show me the document.
 3            Q       You can't say from the top of your head

 4     whether any inaccurate statement has been attributed

 5     to you in the press?
 6            A       Please show me a document and I will tell

 7     you.
 8            Q       Are you refusing to answer my questions

 9     about your knowledge of whether inaccurate statements

10     have been attributed to you in the press?

11            A       Are you refusing to give me the documents

12     to look at?
13            Q       Are you refusing to answer the question?

14            A       I am refusing to answer the question based

15     upon the fact that you are not being fair enough to

16     let me see the document in order to give you an

17     honest answer.
18            Q       Ms. Giuffre
19            A       Yes.
20            Q       -- we are talking about press that has

21     been published on the Internet, correct?
22            A       Yes.
23            Q       Do you have access to the Internet?
24            A       Yes.
25            Q       Have you looked on the Internet and read

                             VIRGINIA GIUFFRE 5/3/2016                        225
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 24 of 27
                                                   01/03/24

 1     articles that attribute statements to you about

 2     Ghislaine Maxwell?
 3            A       Yes.
 4            Q       Do you know any statement that has been

 5     attributed to you in a press article on the Internet

 6     about Ghislaine Maxwell that is untrue?
 7                    MR. EDWARDS:          Same objection.       Same

 8     instruction.
 9            A       Please show me a specific document.

10            Q        (BY MS. MENNINGER)            Do you know of any

11     such statement about Ghislaine Maxwell attributed to

12     you by the press that is inaccurate?
13            A       If you could please show me a specific

14     document.
15            Q       Tell me what Sharon Churcher asked you to

16     write for her.
17            A       Any knowledge that I had about my time

18     with Prince Andrew.
19            Q       And did you write it?
20            A       Um-hum.
21            Q       What did you write it in or on?
22            A       Paper.
23            Q       What kind of paper?
24            A       Lined paper.
25            Q       Was it in a book or single sheets?

                             VIRGINIA GIUFFRE 5/3/2016                        226
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 25 of 27
                                                   01/03/24

 1            A       Single sheets.
 2            Q       And did you write a long document or a

 3     short document?         What was it?
 4            A       I can't recall how long the document was,

 5     but I would say it would be a few pages.
 6            Q       And other than asking you to write

 7     whatever you remember about Prince Andrew, did she

 8     give you any other directions about what you should

 9     write?
10            A       She was interested in two things, really.

11     How Epstein got away with so many counts of child
12     trafficking for sex and how Prince Andrew was
13     involved in it.         Those were her two main inquiries.
14            Q       What did she ask you to write?
15            A       She asked me to write about Prince Andrew.
16            Q       Did she tell you to put it in your own

17     handwriting?
18            A       No, she just asked me to write down what I

19     can remember.

20            Q       Did you give her everything that you

21     wrote?

22            A       Did I give her the whole entire pages that

23     I wrote?
24            Q       Yes.
25            A       Yeah, I wrote pages for her specifically.

                             VIRGINIA GIUFFRE 5/3/2016                        227
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 26 of 27
                                                   01/03/24

 1            Q       In your own handwriting?
 2            A       In my own handwriting.

 3            Q       And what you wrote, was that true?
 4            A       Yes.

 5            Q       And did you get paid for those pieces of

 6     paper?

 7            A       Not for the papers, I don't believe.
 8            Q       Okay.      Have you gotten paid when they've

 9     been reprinted?
10            A       No.
11            Q       Have you negotiated any deal with Radar

12     Online?

13            A       No.
14            Q       Have you negotiated any deal with Sharon

15     Churcher for the purpose of publishing those pieces

16     of paper?

17            A       Not those pieces of paper.
18            Q       When did you write those pieces of paper?
19                    MR. EDWARDS:          Object to the form.
20            A       A week before she came out.
21            Q        (BY MS. MENNINGER)            And when did you give

22     them to her?

23            A       When she came out.
24            Q       When was that?
25            A       Sometime, I believe, in early 2011.

                             VIRGINIA GIUFFRE 5/3/2016                        228
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1320-30 Filed       Inc. Page 27 of 27
                                                   01/03/24

 1            Q       What did you get paid for, if not for

 2     those pieces of paper?

 3                    MR. EDWARDS:          Object to the form.
 4            A       I was paid for the picture with Prince

 5     Andrew with his arm around me, Ghislaine in the

 6     background.       And I was paid for the, I guess, the

 7     print of the stories.
 8            Q        (BY MS. MENNINGER)            Anything else?

 9            A       No.
10            Q       You were not paid for those pieces of

11     paper?

12            A       No.

13            Q       All right.         And how many pieces of paper

14     did you write?

15            A       Like I said, I'm rounding it around three.
16            Q       Three pieces of paper?
17            A       That's what I -- I don't remember to be

18     exact on a number.           I'm sorry.           But over three pages.
19            Q       And you wrote those sometime in 2011?
20            A       The week that she was coming out to see

21     me.

22            Q       And you gave them to her, right?
23            A       I gave them to her.
24            Q       Did you keep a copy of that?
25            A       No.

                             VIRGINIA GIUFFRE 5/3/2016                           229
